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                                               December 16, 2021




                                               To Whom It May Concern:

             Hematology Section
          Red Cell Defects Program             I am writing this letter on behalf of Angelina Ayvazyan, a patient recently seen in the
         Sickle Cell Treatment Center
                                               outpatient Hematology Department at Children’s Hospital Los Angeles.
              Tel: (323) 361-5507
              Fax: (323) 361-7128
                                               Angelina is a 15-year-old who was referred to our department by her primary care
  THOMAS D. COATES, MD                         physician on August 26, 2021 for abnormal blood test results (drawn July 29, 2021)
   Professor of Pediatrics
   Director, Sickle Cell Center
                                               concerning an underlying hematological condition.
   Section Head for Hematology
  THOMAS C. HOFSTRA, MD                        She had a second set of labs drawn at our request on November 9, 2021 and her
   Assistant Professor of Pediatrics           appointment following the initial referral took place on December 2, 2021 where these
   Coordinator, Medical Student and            lab results were discussed with Sue Carson, Nurse Practitioner. The patient reported
   Resident Education
  EDWARD GOMPERTS, MD, MB, BCh
                                               feeling like she had mild seizures, when she was seen at the time.
   Emeritus Professor of Clinical Pediatrics
  GUY YOUNG, MD                                Per Sue Carson, her blood tests were consistent with idiopathic generalized epilepies
   Professor of Pediatrics                     with an alpha thalassemia trait. There will be a planned treatment after further labs
   Director, Hemostasis &Thrombosis Center     are drawn to determine the course of action.
  JULIE JAFFRAY, MD
   Assistant Professor of Pediatrics
   Director, Thrombosis Program                When this additional testing is obtained, within 2-4 months she will have a telehealth
  CHRISTOPHER DENTON, MD                       appointment with our department once more to discuss the results and finalize the
   Assistant Professor of Pediatrics           course of treatment. Follow up after that time will be with her primary physician or
  SARANYA VELUSWAMY, MD                        with any referrals we or they determine to make going forward.
   Assistant Professor of Pediatrics
  FRANCISCO BRACHO, MD
   Professor, Clinical Pediatrics & Medicine
                                               For your records, Angelina’s health care provider at CHLA is:
SPECIALTY CONSULTANTS

Cardiology:
                                               Sue Carson, NP
  JOHN C. WOOD, MD, PHD
  JON A. DETTERICH, MD
Pulmonology:                                   If you have any questions regarding this important recommendation, please contact us
  ROBERTA KATO, MD                             at 323-361-5507.
NURSING TEAM

Nurse Practitioners:
  SUSAN CARSON, MSN, RN, CPNP                  Sincerely,
  DEBBIE HARRIS, MSN, RN, CPNP
  ANNE NORD, MSN, RN, FNP-C
  TRISH PETERSON, MSN, RN, CPNP
Nurse Care Manager:                            __________________________ (signature)
  HEATHER VON BIELA, BSN, RN, CPHON
SOCIAL WORK TEAM                                Susan Carson, MSN, CPNP (print name)
                                               __________________________

  BREAON BEARD, LCSW                           Nurse Practitioner III
                                               __________________________      (title)
  MICHELLE LAHAT, LCSW                         Thalassemia & Chronic Transfusion Program
                                               Assistant Clinical Professor, School of Nursing
ADMINISTRATIVE TEAM

Administrative Assistant:
  LYNDA LEMUS
Project Coordinators:
  KELLY RUSSELL, MA
  NATHAN SMITH, BA
